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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NORTH DAKOTA
                                SOUTHWESTERN DIVISION



NORTHWEST AIRLINES, INC.,                                       Case No. _____________

               Plaintiff,

v.                                                                     COMPLAINT

MICHAEL BAUER,                                                JURY TRIAL DEMANDED

               Defendant.


       Plaintiff Northwest Airlines, Inc. (³Northwest´), for its Complaint against Defendant

Michael Bauer (³Bauer´), states as follows:

                                     NATURE OF ACTION

       1.      This is an action for unlawful trade practices, deceit, conversion, interference with

business, arising under the laws of North Dakota and trademark infringement, dilution, deceptive

trade practices, unfair competition, cyber squatting, and other relief arising under the trademark

laws of the United States of America, specifically 15 U.S.C. § 1051 et seq. (the ³Lanham Act´).

       2.      Bauer has engaged, and continues to engage, in a fraudulent scheme in which he

unlawfully acquires and/or creates Northwest Travel Discount e-Certificates and/or e-Certificate

coupon numbers (herein collectively ³e-Certificates´), and sells these stolen and/or bogus e-

Certificates   to   others   for   consideration    at   a   website   with   the   domain    name

www.northwestdiscountcoupons.com.

       3.      Bauer¶s scheme, and others like it, have caused, and continue to cause, Northwest

to lose millions of dollars in revenue.            Moreover, Bauer¶s use of the domain name
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www.northwestdiscountcoupons.com to further his illegal business causes incalculable and

irreparable injury to the reputation and goodwill embodied in Northwest¶s trademarks.

                                          THE PARTIES

           4.    Northwest is a corporation organized and existing under the laws of the State of

Minnesota and has its principal place of business at 2700 Lone Oak Parkway, Eagan, Minnesota.

Northwest is engaged in business as a commercial airline.

           5.    Upon information and belief, Bauer is an adult residing in Beulah, North Dakota.

                                  JURISDICTION AND VENUE

           6.    This action arises due to unlawful trade practices, deceit, conversion, and

interference with business by Bauer at an address in Beulah, North Dakota. There is complete

diversity of citizenship between Northwest and Bauer, and the amount in controversy exceeds

$75,000.00, exclusive of interest, costs, and attorneys¶ fees. This Court has subject matter

jurisdiction pursuant to 28 U.S.C. § 1332(a).

           7.    Jurisdiction is also proper under 28 U.S.C. § 1331 because this matter arises under

the laws of the United States; in particular 15 U.S.C. § 1051 et seq.

           8.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(a).

                               NORTHWEST E-CERTIFICATES

           9.    Northwest issues e-Certificates to passengers who experience flight delays. E-

Certificates are redeemable for significant discounts on future ticket purchases.

           10.   Passengers redeem e-Certificates by visiting Northwest¶s website and entering the

unique coupon number that appears on the face of each e-Certificate. Redemption occurs at the

time a flight reservation is made.




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           11.    E-Certificates issued prior to November 2006 are transferable but not for cash or

any other consideration. E-Certificates issued since November 2006 may not be transferred even

for free.

           12.    E-Certificates are intended to be used by Northwest passengers who are

inconvenienced by flight delays.         Northwest distributes e-Certificates to foster customer

goodwill, not to create a secondary market in e-Certificates.

           13.    E-Certificates exist in three forms: (1) physical documents; (2) electronic versions

of physical documents; and/or (3) e-Certificate coupon numbers that can be used to redeem e-

Certificates. E-Certificates in all forms are the personal property of Northwest.

                                THE E-CERTIFICATES SCHEME

           14.    Bauer operates a website with the domain name northwestdiscountcoupons.com.

A printout of the website is at Exhibit A.          Bauer uses this website to advertise and sell

Northwest¶s e-Certificates for consideration. Bauer¶s website says, in relevant part:

           ³Northwest Airlines offers discount travel coupons that can be used when
           booking your flight online or over the phone with Northwest. Coupons are
           electronic so you will not need the coupon at any point in time. Because these
           coupons are electronic we can QUICKLY get the coupon codes to you via email
           so you can book your flight.´

            15.   Among other false statements, Bauer¶s website promises that ³[t]his coupon is

 completely transferable as it has no name or worldperks number on it, as opposed to a voucher

 or gift certificate. This is just a coupon!!´

           16.    Bauer¶s sale of the e-Certificates is a fraud on Northwest and on the passengers

who purchase them believing they are legitimate.

           17.    In order to determine whether Bauer is legitimately acquiring e-Certificates,

Northwest¶s employees have contacted Bauer. Posing as customers, Northwest¶s personnel have



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discussed purchasing a large number of e-Certificates from Bauer.           Bauer¶s responses to

Northwest¶s personnel indicates that he has an unlimited supply of Northwest¶s e-Certificates.

           18.   Northwest has purchased e-Certificates from Bauer¶s website and successfully

used those e-Certificates to purchase discounted fares from Northwest.

           19.   Northwest¶s distribution of e-Certificates to delayed customers is such that it is

implausible that Bauer is legitimately acquiring the e-Certificates.

           20.    Upon information and belief Bauer is either wrongfully creating, buying, and/or

otherwise unlawfully obtaining Northwest¶s e-Certificates.

           21.   Passengers who unlawfully purchase e-Certificates from Bauer have redeemed the

e-Certificates and accepted discounts from Northwest on ticket purchases.

           22.   The unlawful acquisition, creation, transfer, and use of fraudulent e-Certificates

by Bauer is the source of significant revenue loss to Northwest.

                                 LANHAM ACT VIOLATIONS

I.         The History and Strength of the Northwest Trademarks

           23.   Northwest Airlines was established as Northwest Airways in 1926 to carry mail

between Minneapolis/St. Paul, Minnesota and Chicago. It began passenger service in 1927.

Today Northwest is the world¶s fifth largest airline with over 31,000 employees. Since 1926,

Northwest has continuously and extensively engaged in the business of promoting, offering and

distributing air transportation services in commerce under a family of marks that incorporate the

word Northwest (hereafter referred to individually and collectively as the ³NORTHWEST

Marks´).

           24.   During the many years Northwest has been continuously using the NORTHWEST

Marks in commerce with its services, it has sold many billions of dollars of services under the

NORTHWEST Marks, and has expended many millions of dollars in advertising its services
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offered under the NORTHWEST Marks in a variety of media, including but not limited to

television, a wide variety of both general circulation and specialized print media, billboards,

trade shows and the Internet. In that time, there also have been many thousands of articles in

general circulation newspapers and magazines, and discussions on radio, television and the

Internet related to the services offered by Northwest.

           25.   Through continuous, extensive and exclusive use and promotion by Northwest,

the NORTHWEST Marks have garnered substantial name and design recognition and goodwill

among consumers generally, and specifically consumers of air transportation services. The

public distinguishes Northwest¶s services from those of others on the basis of the NORTHWEST

Marks. Moreover, as a result of this extensive effort and considerable monies, and due to the

high quality of the services, Northwest enjoys a prominent market position in the United States

and around the world.

II.        Northwest¶s Registered Trademarks and Domain Name

           26.   Northwest is the owner of numerous federal trademarks registered on the

Principal Register for various services in the airline and travel industry, including the following:


      TRADEMARK             REG. NO.       REG. DATE                GOODS / SERVICES

NORTHWEST                   2744100         07/29/2003      Airport terminal services, namely,
AIRLINES                                                    making transportation
WORLDGATEWAY                                                reservations, baggage and cargo
                                                            handling services.

NORTHWEST                   2646848         11/05/2002      Incentive award programs,
AIRLINES                                                    namely, promoting the goods and
WORLDPERKS                                                  services of others by awarding
MALL                                                        frequent flyer miles.

NORTHWEST                   2425286        01/30/20001      Travel Agency Services, Namely,
AIRLINES                                                    Making Reservations and
WORLDVACATIONS                                              Bookings Transportation;
                                                            Arranging of Travel Tours.
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     TRADEMARK                REG. NO.     REG. DATE               GOODS / SERVICES


NW NORTHWEST                  2462142      06/19/2001     Air transportation and reservation
AIRLINES                                                  services.
VOICELINK




NORTHWEST                     2480325      08/21/2001     Air transportation and reservation
AIRLINES                                                  services.
VOICELINK

NORTHWEST                     2250398      06/01/1999     Air transportation and reservation
AIRLINES EVERY                                            services.
DAY DEALS

NORTHWEST                     1718838      09/22/1992     Air transportation and reservation
AIRLINES                                                  services.


           27.   Attached hereto as Exhibits B through H, and incorporated herein by reference are

true and correct copies of the federal trademark registrations issued for these trademarks, which

are all in full force and effect.

           28.   Northwest is the exclusive owner of each of the marks referred to above through

continuous, substantial and exclusive use of these marks in commerce in the United States for

many years.

           29.   Northwest      is   the   owner     of    the    registered    Domain      Name

www.NORTHWESTAIRLINES.com. Northwest directs traffic from the site with that Domain

Name to its www.NWA.com website where it promotes and offers for sale its goods and services

under the NORTHWEST Marks.




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III.       The NORTHWEST Marks Are Famous

           30.        Since       long   prior    to   the     date        of         Bauer¶s   first     use   of

www.northwestdiscountcoupons.com, the NORTHWEST Marks have come to be and are now

distinctive and famous, as defined in 15 U.S.C. Section 1125(c). The NORTHWEST Marks are

well known and of great value to Northwest, and are recognized and relied upon by the trade and

the public as identifying Northwest as the source of services, and/or distinguishing Northwest¶s

services from the services of others. Northwest¶s use of the NORTHWEST Marks has been

exclusive and continuous since long prior to the date of Bauer¶s first use of

www.northwestdiscountcoupons.com.

           31.        By virtue of the long, continuous and substantially exclusive use by Northwest,

the extensive and costly national marketing efforts and resultant visibility of its air transportation

services in association with the NORTHWEST Marks, and by virtue of Northwest¶s market

position, the NORTHWEST Marks have acquired a secondary meaning in the minds of the

consuming public nationwide and worldwide as identifying Northwest¶s services and being

associated with them exclusively.

           32.        The NORTHWEST Marks have become a strong and distinctive recognition

factor that serves to identify and distinguish Northwest¶s services from those of all others.

Because of the consistent quality of Northwest¶s services marketed under and in association with

the NORTHWEST Marks, Northwest has established considerable good will and reputation with

respect to its goods and services.

IV.        Bauer¶s Wrongful Acts

           33.        Bauer is using www.northwestdiscountcoupons.com to further his fraudulent

scheme           of     selling     e-Certificates.        Bauer      is        the     registered      owner   of

www.northwestdiscountcoupons.com, and operates a website on the World Wide Web at that
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Internet address where Northwest¶s e-Certificates are advertised, marketed, and offered for sale.

Bauer¶s commercial website allows consumers to unlawfully purchase e-Certificates.

           34.   Bauer¶s Domain Name is highly similar in appearance, sound and commercial

impression to the NORTHWEST Marks.

           35.   Bauer¶s Domain Name is confusingly similar to the NORTHWEST Marks.

           36.   Bauer¶s      activities    in        registering,    maintaining     and      using

www.northwestdiscountcoupons.com is likely to cause confusion, mistake or deception of

consumers and are likely to lead the public to the erroneous conclusion that the website at that

address and the goods and services offered and administered therein originated with, and/or are

sponsored by, and/or authorized by Northwest to the damage and harm of Northwest and the

public.

           37.   Bauer has knowingly advertised, offered for sale, and sold and distributed the

fraudulent e-Certificates under Northwest¶s Mark, in the State of North Dakota, in this judicial

district, and in interstate commerce.

           38.   Northwest        has      not     consented         to     Bauer¶s      use      of

www.northwestdiscountcoupons.com nor has it sponsored, endorsed or approved Bauer¶s sale of

e-Certificates at that website.

           39.   Bauer deliberately and willfully selected and is using a Domain Name similar to

the NORTHWEST Marks, to mislead and confuse consumers into believing that Bauer¶s goods

and services are provided, sponsored, or approved by Northwest.

           40.   Bauer deliberately and willfully selected and is using marks identical or similar to

the NORTHWEST Marks to trade on Northwest¶s reputation and goodwill and to cause initial

interest confusion among consumers seeking Northwest approved services.



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           41.   Bauer deliberately and willfully selected and is using marks identical or similar to

the NORTHWEST Marks to dilute and tarnish the NORTHWEST Marks.

           42.   Bauer use of www.northwestdiscountcoupons.com is likely to cause confusion, to

cause mistake, and to deceive an appreciable number of reasonably prudent consumers into

falsely believing that Bauer¶s scheme is sponsored or approved by Northwest, or that there is a

connection between Northwest and Bauer, when there is not.

           43.   Bauer¶s unauthorized use of the NORTHWEST Marks is likely to dilute the

distinctive quality of these marks and to tarnish and otherwise injure the reputation of Northwest.

           44.   As a direct and proximate result of Bauer¶s conduct set forth above, Northwest

has suffered economic harm.

           45.   Bauer¶s conduct is continuing and will continue, constituting an ongoing threat to

Northwest and the public. Unless Bauer is restrained and enjoined from engaging in the

infringing conduct described herein, Northwest will suffer irreparable injury.          It would be

difficult to ascertain the amount of compensation that could afford adequate relief for the acts of

Bauer, present and threatened, and Northwest¶s remedy at law is not adequate in and of itself to

compensate it for said harm and damage.

                                           COUNT ONE

       VIOLATION OF UNLAWFUL SALES OR ADVERTISING PRACTICES ACT
                           (N.D.C.C. § 51-15-02)

           46.   Northwest incorporates by reference the allegations in the preceding paragraphs

as if set forth in full herein.

           47.   The Unlawful Sales or Advertising Practices Act, North Dakota Century Code

Section 51-15-02, prohibits ³[t]he act, use, or employment by any person of any deceptive act or

practice, false pretense, false promise, or misrepresentation, with the intent that others rely


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thereon in connection with the sale or advertisement of any merchandise, whether or not any

person has in fact been misled, deceived, or damaged thereby«.´

           48.   E-Certificates constitute ³merchandise´ under the Unlawful Sales or Advertising

Practices Act.

           49.   Bauer has used deceptive acts or practices, false pretenses, false promises, and

misrepresentations with the intent that others rely thereon, in connection with the sale of e-

Certificates to the public.

           50.   Bauer¶s fraudulent and deceptive acts are outlined above, and, include, but are not

limited to, selling void, fraudulently created, and/or unlawfully obtained e-Certificates.

           51.   As a direct and proximate cause of these past and continuing acts of fraudulent

and deceptive practices, Northwest has suffered damages in the form of lost revenue in an

amount exceeding $75,000.

                                           COUNT TWO

                                            DECEIT
                                       (N.D.C.C. § 9-10-03)

           52.   Northwest incorporates by reference the allegations in the preceding paragraphs

as if set forth in full herein.

           53.   North Dakota Century Code Section 9-10-03 provides that ³[o]ne who willfully

deceives another with intent to induce him to alter his position to his injury or risk is liable for

any damage which he thereby suffers.´

           54.   By offering to sell and by selling e-Certificates, Bauer is suggesting that the e-

Certificates were lawfully obtained and are valid and redeemable to Northwest for travel

discounts. This constitutes deceit under North Dakota Century Code § 9-10-02.




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           55.   As a result of Bauer¶s deceit, Northwest altered its position by accepting void and

fraudulently obtained e-Certificates and granted discounts to passengers who should not have

received discounts.

           56.   As a direct and proximate cause of these past and continuing acts of deceit,

Northwest has suffered damages in the form of lost revenue in an amount exceeding $75,000.

                                         COUNT THREE

                                          CONVERSION

           57.   Northwest incorporates by reference the allegations in the preceding paragraphs

as if set forth in full herein.

           58.   E-Certificates, both in their physical document form and in their design, layout,

and numbering system, constitute personal property belonging to Northwest.

           59.   By fraudulently creating, buying and/or unlawfully obtaining e-Certificates, Bauer

has and continues to tortuously detain and wrongfully exercise dominion or control over

Northwest¶s personal property in defiance of Northwest¶s rights.

           60.   As a direct and proximate cause of these past and continuing acts of conversion,

Northwest has suffered damages in the form of lost revenue in an amount exceeding $75,000.

                                          COUNT FOUR

                       UNLAWFUL INTERFERENCE WITH BUSINESS

           61.   Northwest incorporates by reference the allegations in the preceding paragraphs

as if set forth in full herein.

           62.   Northwest has valid business expectancies with passengers who purchase e-

Certificates from Bauer.

           63.   Bauer knows or has reason to know of these business expectancies.



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           64.   Bauer committed independently tortuous or otherwise unlawful acts of

interference with Northwest¶s business expectancy. These acts are outlined above, and, include,

but are not limited to wrongfully buying, acquiring or creating e-Certificates and transferring e-

Certificates for money or other consideration.

           65.   As a direct and proximate cause of these past and continuing acts of unlawful

business interference, Northwest has suffered actual damages in the form of lost revenue in an

amount exceeding $75,000.

                                          COUNT FIVE

                                   CLAIM AND DELIVERY
                                     (N.D.C.C. § 32-07-01)

           66.   Northwest incorporates by reference the allegations in the preceding paragraphs

as if set forth in full herein.

           67.   Bauer has e-Certificates in either a physical form, an electronic form, or both,

which are Northwest¶s personal property.

           68.   Northwest demands immediate delivery of all forms of Northwest e-Certificates

in Bauer¶s possession.

                                           COUNT SIX

                     VIOLATION OF UNFAIR TRADE PRACTICES ACT
                                 (N.D.C.C. § 51-10-03)

           69.   Northwest incorporates by reference the allegations in the preceding paragraphs

as if set forth in full herein.

           70.   The Unfair Trade Practices Act, North Dakota Century Code Section 51-10-03,

prohibits ³[a]ny advertising, offer to sell, or sale of any merchandise, either by retailers or

wholesalers, at less than cost « with the intent, or with the effect of « injuring a competitor,

impairs and prevents fair competition, injures public welfare, and is unfair competition and
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contrary to public policy and the policy of this chapter, where the result of such advertising, offer

or sale is to tend to deceive any purchaser or prospective purchaser, or substantially to lessen

competition, or unreasonably to restrain trade, or to tend to create a monopoly in any line of

commerce.´

           71.    Bauer is advertising, offering to sell and selling e-Certificates at less than cost.

           72.    Bauer¶s fraudulent scheme has the intent and the effect of injuring Northwest,

impairs and prevents fair competition, injures public welfare, and is unfair competition and

contrary to public policy.

           73.    Bauer¶s acts of advertising, offering to sell, and selling e-Certificates has the

effect of deceiving purchasers or prospective purchasers, and it substantially lessens competition.

           74.    As a direct and proximate cause of these past and continuing acts of unfair trade

practices, Northwest has been damaged financially and demands Bauer be enjoined from

continuing his fraudulent scheme and that Bauer be compelled to disgorge the profits of his

illegal scheme.

                                            COUNT SEVEN

                      INFRINGEMENT OF REGISTERED TRADEMARKS
                                   (15 U.S.C. § 1114)

           75.    Northwest incorporates by reference the allegations in the preceding paragraphs

as if set forth in full herein.

           76.    Bauer¶s domain name www.northwestdiscountcoupons.com is confusingly similar

to the NORTHWEST Marks, and is used in a similar manner in connection with similar goods

and services, constituting trademark infringement in violation of Section 32 of the Lanham Act,

15 U.S.C. § 1114.




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           77.   Northwest is entitled to monetary damages and injunctive relief prohibiting Bauer

from using the Domain Name www.northwestdiscountcoupons.com and any other trade name,

trademark, service mark or Domain Name that is likely to be confused with the NORTHWEST

Marks. Without injunctive relief, Northwest has no means by which to control the continuing

injury to its reputation and goodwill or of the continuing dilution of the NORTHWEST Marks.

Northwest has been and will continue to be irreparably harmed. No amount of money damages

can adequately compensate Northwest if it loses the ability to control the use of the

NORTHWEST Marks, or suffer damage to its reputation and associated goodwill through the

false and unauthorized use of the NORTHWEST Marks.

           78.   Because Bauer¶s actions have been committed willfully, maliciously and

intentionally, this is an exceptional case and Northwest is entitled to recover Bauer¶s profits

together with Northwest¶s damages, trebled, costs of the action, and reasonable attorneys¶ fees

pursuant to Section 35(a) of the Lanham Act, 15 U.S.C. § 1117(a).

                                         COUNT EIGHT

                      UNFAIR COMPETITION UNDER FEDERAL LAW
                                 (15 U.S.C. § 1125(a))

           79.   Northwest incorporates by reference the allegations in the preceding paragraphs

as if set forth in full herein.

           80.   On information and belief, Bauer¶s Domain Name was deliberately chosen to be

confusingly similar to the NORTHWEST Marks, and, as such, its use in commerce constitutes a

willful and deliberate false designation of origin and false deception, as well as unfair

competition with Northwest and an attempt to palm off or permit others to palm off Bauer¶s

goods or services as those of Northwest¶s goods or services.




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           81.   Bauer¶s use of the trade name www.northwestdiscountcoupons.com is likely to

cause confusion, mistake, and deception in the public, and to lead consumers to the erroneous

impression that Bauer or his products and services originate with, or are endorsed or sponsored

by, or affiliated with Northwest, or that there is some association between Northwest, and its

products and services, and Bauer and his products and services.

           82.   Bauer¶s conduct constitutes trademark infringement and unfair competition in

violation of Section 43(a) of the Lanham Act (15 U.S.C. § 1125(a)).

           83.   The above acts by Bauer have caused, are causing, and unless enjoined will likely

continue to cause, irreparable harm and injury to Northwest¶s business, reputation, and goodwill.

Such acts are and have been willful and malicious, carried out with full knowledge that such acts

are in violation of the law and will irreparably harm Northwest.

           84.   Northwest is entitled to monetary damages and injunctive relief prohibiting Bauer

from using the Domain Name or any other trade name, trademark, or domain name that is likely

to be confused with any of the NORTHWEST Marks, or otherwise unfairly competing with

Northwest. Without preliminary and permanent injunctive relief, Northwest has no means by

which to control the continuing injury to its reputation and goodwill. Northwest has been and

will continue to be irreparably harmed. No amount of money damages can adequately

compensate Northwest if it loses the ability to control the use of the NORTHWEST Marks, or

suffer damage to its reputation and associated goodwill through the false and unauthorized use of

the NORTHWEST Marks.

           85.   Because Bauer¶s actions have been committed willfully, maliciously and

intentionally, this is an exceptional case and Northwest is entitled to recover Bauer¶s profits

together with Northwest¶s damages, trebled, costs of the action, and reasonable attorneys¶ fees

pursuant to Section 35(a) of the Lanham Act, 15 U.S.C. § 1117(a).
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                                          COUNT NINE

                      TRADEMARK DILUTION UNDER FEDERAL LAW
                                 (15 U.S.C. § 1125(c))

           86.   Northwest incorporates by reference the allegations in the preceding paragraphs

as if set forth in full herein.

           87.   The NORTHWEST Marks are famous within the meaning of 15 U.S.C. §1125(c)

and became famous before the acts of Bauer alleged herein.

           88.   The above acts by Bauer, which began after the NORTHWEST Marks became

famous, are likely to dilute and tarnish the distinctive quality and the value of the NORTHWEST

Marks.

           89.   Northwest is entitled to monetary damages and injunctive relief prohibiting Bauer

from using the Domain Name, or any other trade name, trademark, or domain name that is likely

to be confused with the NORTHWEST Marks, or otherwise unfairly competing with Northwest.

Without preliminary and permanent injunctive relief, Northwest has no means by which to

control the continuing injury to its reputation and goodwill or of the continuing dilution and

tarnishment of the NORTHWEST Marks.              Northwest has been and will continue to be

irreparably harmed. No amount of money damages can adequately compensate Northwest if it

loses the ability to control the use of the NORTHWEST Marks, or suffer damage to their

reputation and associated goodwill through the false and unauthorized use of the NORTHWEST

Marks.

           90.   Because Bauer¶s actions have been committed willfully, maliciously and

intentionally, this is an exceptional case and Northwest is entitled to recover Bauer¶s profits

together with Northwest¶s damages, trebled, costs of the action, and reasonable attorneys¶ fees

pursuant to Section 35(a) of the Lanham Act, 15 U.S.C. § 1117(a).


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                                          COUNT TEN

                         CYBERSQUATTING UNDER FEDERAL LAW
                                  (15 U.S.C. 1125(d))

           91.   Northwest incorporates by reference the allegations in the preceding paragraphs

as if set forth in full herein.

           92.   Northwest is the owner of the famous NORTHWEST Marks, and the owner of

incontestable trademark registrations for marks comprised in whole or in dominant part of the

word NORTHWEST, and used with air transportation services.

           93.   The NORTHWEST Marks, are distinctive and have indelibly become associated

with the Northwest as a result of extensive advertising, promotion, use, and sale and offering of

services under the NORTHWEST Marks, and their widespread recognition by the consuming

public.

           94.   Bauer is the registered owner and the user of the Domain Name

www.northwestdiscountcoupons.com, which is confusingly similar to the NORTHWEST Marks.

           95.   Bauer¶s registration and use of www.northwestdiscountcoupons.com occurred

after the NORTHWEST Marks became famous.

           96.   Bauer registered the www.northwestdiscountcoupons.com with bad faith intent to

profit from it, in violation of the Anticybersquatting Consumer Protection Act, 15 U.S.C.

§ 1125(d).

           97.   Northwest is entitled to monetary damages and injunctive relief prohibiting Bauer

from using the www.discountcoupons.com, or any other trade name, trademark, or domain name

that is likely to be confused with the NORTHWEST Marks, or otherwise unfairly competing

with Northwest. Without preliminary and permanent injunctive relief, Northwest has no means

by which to control the continuing injury to its reputation and goodwill or of the continuing


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dilution and tarnishment of the NORTHWEST Marks. Northwest has been and will continue to

be irreparably harmed. No amount of money damages can adequately compensate Northwest if

it loses the ability to control the use of the NORTHWEST Marks or suffer damage to its

reputation and associated goodwill through the false and unauthorized use of the NORTHWEST

Marks.          Northwest is entitled to injunctive relief prohibiting Bauer from using the

www.northwestdiscountcoupons.com             and        requiring   Bauer     to    transfer    the

www.northwestdiscountcoupons.com to Northwest. Because Bauer¶s actions have been

committed willfully, maliciously and intentionally, this is an exceptional case and Northwest is

entitled to recover Bauer¶s profits together with Northwest¶s damages, trebled, costs of the

action, and reasonable attorneys¶ fees pursuant to Section 35(a) of the Lanham Act, 15 U.S.C.

§ 1117(a).

           WHEREFORE, Northwest prays for judgment against Bauer as follows:

           1.      That Bauer be ordered to pay Northwest its actual damages suffered as a result of

Bauer¶s wrongful acts in violation of North Dakota law, in an amount to be determined at trial;

           2.      That Bauer, his officers, affiliate companies, agents, servants, employees,

successors, licensees, and assigns, and all others in concert and privity with them be permanently

enjoined and restrained from directly or indirectly creating, purchasing, unlawfully accepting,

and selling Northwest¶s e-Certificates;

           3.      That Bauer¶s profits from his unlawful sale of Northwest¶s e-Certificates be

disgorged;

           4.      That Bauer, his officers, affiliate companies, agents, servants, employees,

successors, licensees, and assigns, and all others in concert and privity with them, be

permanently enjoined and restrained from directly or indirectly: operating a website with the

domain name www.northwestdiscountcoupons.com and/or any other website with a domain
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name which is likely to cause consumer confusion, mistake or deception with respect to

Northwest¶s NORTHWEST mark;

           5.   That Bauer, his officers, affiliate companies, agents, servants, employees,

successors, licensees, and assigns, and all others in concert and privity with them, be

permanently enjoined and restrained from directly or indirectly making any use of Northwest¶s

NORTHWEST mark and/or any terms confusingly similar thereto which is likely to confuse

consumers into believing that the services that are sponsored by, affiliated with, or otherwise

endorsed in any way by Northwest;

           6.   That Bauer, his officers, affiliate companies, agents, servants, employees,

successors, licensees, and assigns, and all others in concert and privity with them, be enjoined

during the pendency of this action, and permanently thereafter, from committing any other acts

calculated to cause purchasers to believe that any of its or their services are sponsored by,

approved by, connected with, or offered or sold by Northwest or under license from Northwest;

           7.   That Bauer, within thirty (30) days after having been served with judgment, with

notice of entry upon it, be required to file with this Court and to serve upon Northwest, a written

report, under oath, setting forth in detail, the manner in which Bauer has complied with

Paragraphs 4 through 6, above;

           8.   That Bauer be ordered to account to Northwest for, and to pay to Northwest, all of

Bauer¶s profits and all amounts by which Bauer has been unjustly enriched from its acts and

practices complained of herein, increased on grounds that this is an exceptional case and

according to the circumstances of the case under Section 35(a) of the Lanham Act;

           9.   That Bauer be ordered to pay Northwest its actual damages suffered as a result of

Bauer¶s wrongful acts in an amount to be determined at trial, trebled on grounds that this is an

exceptional case under Section 35(a) of the Lanham Act;
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           10.   That Bauer be ordered to pay Northwest¶s attorneys¶ fees and costs on grounds

that this is an exceptional case under Section 35(a) of the Lanham Act;

           11.   That Bauer be ordered to pay Northwest prejudgment interest on any monetary

award;

           12.   That Bauer be ordered to deliver to Northwest all Northwest e-Certificates in

Bauer¶s possession, whether they be in electronic, paper, or any other form; and

           13.   Such further relief as the Court deems just and proper.

Dated: December 14, 2006.

                                               /s/ John C. Kapsner (#03094)
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